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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                   AUGUSTA DIVISION

PENNY SMITH,                                  )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )           CV 121-055
                                              )
                                              )
WALMART, INC., and A.B.C.,                    )
                                              )
               Defendants.                    )
                                         _________

                                         ORDER
                                         _________

       Defendant Walmart, Inc., removed this case to the Southern District of Georgia from

the Superior Court of Richmond County on March 25, 2021. At that time, the Clerk of Court

issued a Removal Notice to All Counsel of Record informing Reid Sanders, Plaintiff’s

counsel, he must file a notice of appearance or motion for admission pro hac vice within ten

days. (Doc. no. 3.) On May 3, 2021, the parties submitted the report of the Rule 26(f)

conference with attorney Eric Beaton signing both for Defendant and on behalf of Mr.

Sanders for the Plaintiff. (Doc. no. 7, p. 6.)     However, Mr. Sanders has not made an

appearance, and no other attorney has appeared on behalf of Plaintiff. By Friday, May 7,

2021, Plaintiff’s counsel shall enter an appearance file his notice of appearance or notify the

Court of Plaintiffs’ intentions.

       SO ORDERED this 5th day of May, 2021, at Augusta, Georgia.
